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                         IN THE UNITED STATES DISTRJCT COURT
                             FOR THE DISTRJCT OF NEBRASKA                      2022 JUL l 9 PM ~: 03
 UNITED STATES OF AMERICA,                                                    OFFICE OF Tl IE CLER!(
                       Plaintiff,                                        8:22CR\7   I
        VS.                                                        INDICTMENT

WESLEY T. VAVRA,                                                18 u.s.c. § 2422(b)

                       Defendant.


        The Grand Jury charges that

                                            COUNT!

        Beginning on or about May 16, 2022, through on or about July 16, 2022, in the District of

Nebraska and elsewhere, in and affecting interstate commerce, the defendant, WESLEY T.

VAVRA, did use any facility of interstate and foreign commerce, to knowingly attempt to

persuade, induce, and entice an individual who had not attained the age of 18 years to engage in

prostitution and sexual activity for which the defendant could be charged with a criminal offense.

       In violation of Title 18, United States Code, Sections 2422(b).



                                                    A TRTTF. RTT.T .                /        .


                                                    FOREPERSON


       The United States of America requests that trial of this case be held in Omaha, Nebraska,
pursuant to the rules of this Court.


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                                                DONALD J. KLE~!59                       ,;
                                                Assistant U.S. Attorney

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